OPINION — AG — ** ICE MILK — RESTAURANTS — INSPECTION — CONTROL ** THE STATE DEPARTMENT OF HEALTH HAS THE POWER TO INSPECT AND LICENSE RETAIL FOOD FIRMS AND FOOD EATING ESTABLISHMENTS. THE DEPARTMENT OF AGRICULTURE HAS THE POWER TO LICENSE AND INSPECT THE MANUFACTURING PROCESS OF FROZEN DAIRY DESSERT (ICE MILK). THE STATE BOARD OF AGRICULTURE HAS THE DUTY TO INSPECT, AS DOES THE STATE DEPARTMENT OF HEALTH, BUILDINGS OCCUPIED BY RETAIL DEALERS IN MILK, FROZEN DAIRY DESSERTS, ETC., AS PROVIDED IN 2 O.S. 7-2 [2-7-2] (MILK, CLUB, PROCESSED, JURISDICTION) CITE: 63 O.S. 1-1115 [63-1-1115], 63 O.S. 1-1102 [63-1-1102] 63 O.S. 1-1101 [63-1-1101], 63 O.S. 1-1118 [63-1-1118] (B), 63 O.S. 1-106 [63-1-106], 2 O.S. 7-112 [2-7-112] (W. HOWARD O'BRYAN JR)